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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  LIFESCAN, INC.,                                         Civil Action No.
                                                       2:17-cv-5552-CCC-JSA
                     Plaintiff,

  v.

  JEFFREY C. SMITH, et al.,

                     Defendants.


  ROCHE DIAGNOSTICS CORP. et al.,                          Civil Action No.
                                                       2:19-cv-08761-CCC-JSA
                      Plaintiffs,

  v.                                                  REVISED DISCOVERY
                                                      SCHEDULING ORDER
  JEFFREY C. SMITH, et al.,

                      Defendants.


         THIS MATTER having been opened to the Honorable Dennis M.

 Cavanaugh, U.S.D.J. (Ret.), the Special Master appointed in the above matters, by

 way of the Defendants and Third-Party Defendants application seeking to amend the

 discovery schedule; and the Special Master having considered all submissions

 related thereto; and for good cause shown,

                      IT IS on this 20th day of December, 2023:

         ORDERED that the discovery schedule is amended as set forth herein:


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  Discovery                        Prior Deadline         Amended Deadline

  Deadline to Complete Fact        December 15, 2023      May 31, 2024
  Depositions/Fact Discovery
  Deadline to Complete Expert      April 30, 2024         May 31, 2024
  Discovery
  Deadline to Disclose             January 14, 2024       February 28, 2024
  Affirmative Expert Reports

  Deadline to Disclose Rebuttal    February 14, 2024      April 15, 2024
  Expert Reports
  Dispositive Motions Due          May 16, 2024           June 28, 2024

  Opposition to Dispositive        June 17, 2024          August 30, 2024
  Motions Due
  Reply Briefs Due                 July 1, 2024           September 30, 2024

  Joint Pretrial Order Due         August 2, 2024         November 1, 2024



                                     Dennis M. Cavanaugh
                                     Hon. Dennis M. Cavanaugh, U.S.D.J. (Ret.)




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